                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   ST. JOSEPH DIVISION
 KAREN BOOK,                                                  )
                                                              )
                                      Plaintiff,              )
                                                              )
                           v.                                 )        Case No. 5:19-06076-CV-RK
                                                              )
 AMERICAN FAMILY MUTUAL                                       )
 INSURANCE COMPANY, S.I.,                                     )
                                                              )
                                      Defendant.
                                                       ORDER
         Before the Court is Plaintiff’s motion for a 60-day extension of the discovery deadline.
(Doc. 42.) Defendant opposes the motion. (Doc. 44.) After careful consideration, the motion is
GRANTED.
         This case was filed on April 29, 2019, and was removed to this Court on June 03, 2019.
(Doc. 1.) On July 25, 2019, the Court entered a scheduling order, which established the discovery
deadline as February 28, 2020. (Doc. 17.) Plaintiff served interrogatories and requests for
production of documents on Defendant on August 7, 2019. (Doc. 21.) Defendant responded to
those requests on September 6, 2019. Then, on January 28, 2020, Plaintiff’s counsel emailed
Defendant’s counsel regarding additional depositions, including the deposition of an undefined
corporate representative of Defendant. (Doc. 44-1.) The next day, at a status conference on
January 29, 2020, Plaintiff requested a 30-day extension of discovery. (Doc. 36.) The Court
construed Plaintiff’s request as giving the Court notice of a potential discovery dispute, but that
the request was premature at that time. (Id.) Plaintiff now seeks a 60-day extension of the
discovery deadline to take the deposition of several witnesses, including the corporate
representative of Defendant,1 and to obtain responses to written discovery propounded upon
Defendant on January 30, 2020.


         1
           The Court notes that it does not appear Plaintiff has complied with the requirements of Federal Rule of Civil
Procedure 30(b)(6) (“Rule 30(b)(6)”). Specifically, Plaintiff has not described “with reasonable particularity the
matters for examination.” As such, if Plaintiff wishes to proceed with a Rule 30(b)(6) deposition, Plaintiff must serve
a notice of deposition(s) within seven (7) days of this order which complies with the requirement of Rule 30(b)(6).
While the discovery deadline is being extended, if Defendant believes the requirements of Rule 30(b)(6) are still not
being met, they are welcome to proceed with the Court’s discovery dispute protocol.



            Case 5:19-cv-06076-RK Document 45 Filed 03/04/20 Page 1 of 2
       A court may modify a scheduling order “upon a showing of good cause and by leave of the
district judge.” Fed. R. Civ. P. 16(b). “The primary measure of Rule 16’s good cause standard is
the moving party’s diligence in attempting to meet the case management order’s requirements.”
Bradford v. DANA Corp., 249 F.3d 807, 809 (8th Cir. 2001) (quotation omitted). “The existence
or degree of prejudice to the party opposing the modification and other factors may also affect the
decision.” Id. (citation and quotation omitted). The Court finds that good cause, the lack of
prejudice, and the early nature of the case warrant an extension of the discovery deadline.
       Defendant argues such a 60-day extension is unwarranted because they have already agreed
to the deposition of fact witnesses out of time, Plaintiff has failed to comply with Fed. R. Civ. P.
30(b)(6), and Plaintiff has not been diligent in pursuing discovery. The Court disagrees. Because
Defendant has already agreed to allow the deposition of fact witnesses, an extension of time will
not affect whether said witnesses are deposed. Regarding the deposition of Defendant’s corporate
representative, Plaintiff originally emailed Defendant about a Rule 30(b)(6) deposition on January
28, 2020, within the discovery deadline. While Plaintiff did not comply with Rule 30(b)(6), such
error does not warrant denying a motion to extend the discovery deadline in this case. As to the
written discovery Plaintiff now seeks, Plaintiff originally served the requests on January 30, 2020.
(Doc. 37.) Defendant’s response was due March 2, 2020, one business day after the discovery
deadline. See F. R. Civ. P. 6(a)(1)(C). Plaintiff contends such discovery is necessary for the
examination of witnesses scheduled to be deposed after the discovery deadline. (See Doc. 43.)
Thus, an extension is warranted. Finally, because this case is still in a relatively early stage of
litigation, significant prejudice is unlikely to occur by an extension.
       Accordingly, and after careful consideration, Plaintiff’s motion to extend the discovery
deadline by 60 days is GRANTED.           The extension of the discovery deadline impacts other
deadlines in the current scheduling order. The Court will issue an amended scheduling order
following this Order.
       IT IS SO ORDERED.



                                             s/ Roseann A. Ketchmark
                                         ROSEANN A. KETCHMARK, JUDGE
                                         UNITED STATES DISTRICT COURT

  DATED: March 4, 2020



           Case 5:19-cv-06076-RK Document 45 Filed 03/04/20 Page 2 of 2
